        13-50179-KMS Dkt 2 Filed 01/30/13 Entered 01/30/13 13:46:13 Page 1 of 1


        Mooney, Brian and Marla - - Pg. 1 of 1
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